                 Case 1-15-44838-nhl              Doc 10        Filed 10/30/15         Entered 10/31/15 00:18:51


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 15-44838-nhl
Guillermo Rodriguez                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mmendieta                    Page 1 of 1                          Date Rcvd: Oct 28, 2015
                                      Form ID: pdfdat                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 30, 2015.
db             +Guillermo Rodriguez,   308 Harman Street,   Brooklyn, NY 11237-4933

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 30, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 28, 2015 at the address(es) listed below:
              Marianne DeRosa    Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 2
                       Case 1-15-44838-nhl                         Doc 10             Filed 10/30/15                  Entered 10/31/15 00:18:51



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    Order Approving Payment of Filing Fee in Installments

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    FRXUWRUGHUVWKDW

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                                October 28, 2015                                      s/Nancy Hershey Lord
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